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                                   COMMONWEALTH OF PENNSYLVANIA
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                                          June 7, 2023
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Patricia S. Dodszuweit, Clerk
UNITED STATES COURT OF APPEALS
FOR THE THIRD CIRCUIT
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790

        RE:    Vernon Robbins v. John Wetzel, et al.
               No. 23-2051

Dear Ms. Dodszuweit:

        Thank you for notice about the above referenced action. Please be advised that this Office
will not participate as the complaint was dismissed on statute of limitations grounds prior to
service.

                                                    Respectfully,

                                                    s/ Sean A. Kirkpatrick
                                                    SEAN A. KIRKPATRICK
                                                    Senior Deputy Attorney General


CC:     Vernon Robbins (##GK-8880) (pro se)
